

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-69,107-07






DAVE LAMON ADAMS, Relator


v.


177TH  JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 1039218-D IN THE 177TH JUDICIAL DISTRICT COURT
	

FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the Judicial District Court of Harris County, that more than 35 days have elapsed,
and that the application has not yet been forwarded to this Court. Relator contends that the district
court entered an order designating issues on November 19, 2010.

	 Respondent, the Judge of the 177th Judicial Court of Harris County, shall file a response with
this Court by having the District Clerk submit the record on such habeas corpus application.   In the
alternative, the trial court may resolve the issues set out in its order and then have the District Clerk
submit the record on such application.  In either case, the trial court's response shall be submitted
within 30 days of the date of this order.  This application for leave to file a writ of mandamus will
be held in abeyance until Respondent has submitted its response.


Filed: March 28, 2012

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